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 5   Attorney for Debtor and Debtor in Possession
     PLANT INSULATION COMPANY
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 8                              UNITED STATES BANKRUPTCY COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10
     In re                                            Case No. 09-31347 TC
11
     PLANT INSULATION COMPANY, a                      Chapter 11
12   California corporation,                          DECLARATION OF PETER J.
                                                      BENVENUTTI REGARDING NO
13                                Debtor.             OPPOSITION TO DEBTOR’S MOTION
                                                      FOR ORDER AUTHORIZING THE
14                                                    DEBTOR TO ASSUME EXECUTIVE
                                                      CONSULTING AGREEMENT WITH THE
15                                                    FLINTKOTE COMPANY, AS AMENDED
16                                                    No Hearing
17
                                                      Judge: Honorable Thomas E. Carlson
18
     I, Peter J. Benvenutti, declare:
19
             1.     I am an attorney licensed to practice law in the State of California and am admitted
20
     to practice before this Court. I am a partner of the law firm of Jones Day, general bankruptcy
21
     counsel to debtor and debtor in possession Plant Insulation Company (the "Debtor").
22
             2.     I submit this declaration in regarding the lack of any opposition to the Motion for
23
     Order Authorizing the Debtor to Assume Executive Consulting Agreement with the Flintkote
24
     Company, As Amended (the "Motion"), which is attached hereto as Exhibit A.
25
             3.     The facts set forth in this Declaration are personally known to me and, if called as
26
     a witness, I could and would testify thereto.
27

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     BENVENUTTI DECL. RE NO OPPOSITION TO
     FLINTKOTE ASSUMPTION MOTION
     Case No. 09-31347 TC
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 1            4.     On January 13, 2011, the Debtor filed the Motion [Dkt. No. 957], the Declaration
 2   of Peter J. Benvenutti in support of the Motion [Dkt No. 958], the Declaration of the Honorable
 3   Ken M. Kawaichi (Ret.) in support of the Motion [Dkt. No. 959] and Notice of the Motion [Dkt.
 4   No. 960], and served copies of all of those pleadings on those parties listed on the Certificate of
 5   Service attached hereto as Exhibit B.
 6            5.     Bankruptcy Local Rule ("B.L.R.") 9014-1(b)(4) provides that when no objection
 7   or request for a hearing has been filed or served within the time provided in
 8   B.L.R. 9014-1(b)(3)(A)(i) (i.e., 21 days after service of the moving papers), the initiating party
 9   may request relief by default by submitting a request for entry of an order by default and a
10   proposed order.
11            6.     I have reviewed the Court’s docket in this case, and as of the date of this
12   Declaration, no answer, objection or other responsive pleading to the Motion appears thereon. In
13   addition, I have not received, nor am I aware of, any opposition and/or requests for hearing in
14   connection with relief requested in the Motion; nor has any party sought or received an extension
15   of their time to respond to the Motion. Therefore, the time for a party to file and serve an
16   objection to or request for a hearing on the relief sought in the Motion has now lapsed.
17            7.     Accordingly, adequate notice having been given, the Debtor respectfully requests
18   that the Court enter an Order approving the Motion in the form uploaded through ECF
19   concurrently herewith.
20            8.     I will amend or supplement this declaration to the extent I learn that (a) any of the
21   within representations are incorrect or (b) there is any change of circumstance relating thereto.
22            I declare under penalty of perjury under the laws of the United States that the foregoing is
23   true and correct and that this declaration was executed this 9th day of February 2011, at San
24   Francisco, California.
25
                                                 /s/ Peter J. Benvenutti
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                                                 Peter J. Benvenutti
27
     SFI-661286v2
28
     CORREA DEC. RE NO OPPOSITION TO RETENTION
     OF BACHECKI CROM
     Case No. 09-31347 TC                               -2-
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